                 Case 3:21-cr-01490-DMS Document 33 Filed 12/03/21 PageID.76 Page 1 of 2
i.   AO 2458 (CASO Rev. 1/19) Judgment in a Criminal Case


                                              UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STA TES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                         V.                              (For Offenses Committed On or After November 1, 1987)
                      DIONISIO LOPEZ-QUIROZ (1)
                        aka Dionisio Lopez-Cuiroz                           Case Number:         3:2 l-CR-01490-DMS


                                                                         Zainab Khan
                                                                         Defendant's Attorney
     USM Number                          01551-506
     • -
     THE DEFENDANT:
     IZI pleaded guilty to count(s)            One of the Information

     D     was found guilty on count(s)
           after a plea of not guilty.
     Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


     Title and Section / Nature of Offense                                                                                     Count
     8: 1326- Removed Alien Found In The United States (Felony)                                                                  1




         The defendant is sentenced as provided in pages 2 through                 2            of this judgment.
     The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
     D     The defendant has been found not guilty on count(s)

     D     Count(s)                                                is          dismissed on the motion of the United States.

     IZJ Assessment : $100.00-Waived


     D     JVTA Assessment*:$

           *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
     IZI   No fine                   D Forfeiture pursuant to order filed                                           , included herein.
            IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
     change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
     judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
     any material change in the defendant's economic circumstances.

                                                                         December 3 2021


                                                                         HON. DA       AM.SABRA w
                                                                         UNITED STATES DISTRICT JUDGE
;.              Case 3:21-cr-01490-DMS Document 33 Filed 12/03/21 PageID.77 Page 2 of 2
     AO 245B (CASO Rev . 1/1 9) Judgment in a Criminal Case

     DEFENDANT:                 DIONISIO LOPEZ-QUIROZ (1)                                               Judgment - Page 2 of 2
     CASE NUMBER:               3:21-CR-01490-DMS

                                                       IMPRISONMENT
      The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
      Time Served




      •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
      •     The court makes the following recommendations to the Bureau of Prisons:




      •     The defendant is remanded to the custody of the United States Marshal.

      •     The defendant must surrender to the United States Marshal for this district:
            •     at
                       --------- A.M.                              on
                                                                        -------------------
            •     as notified by the United States Marshal.

            The defendant must surrender for service of sentence at the institution designated by the Bureau of
      •     Prisons:
            •     on or before
            •     as notified by the United States Marshal.
            •     as notified by the Probation or Pretrial Services Office.

                                                            RETURN
      I have executed this judgment as follows:

            Defendant deli vered on                                           to
                                      --------------
      at                                       , with a certified copy of this judgment.
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                                                                        UNITED STATES MARSHAL



                                          By                    DEPUTY UNITED STATES MARSHAL


                                                                                                             f
                                                                                                       3 :21-CR-01490-DMS
